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UNITED STATES DISTRICT COURT Job #4531292
STATE OF NEW YORK, EASTERN DISTRICT

Attorney: LEVIN EPSTEIN & ASSOCIATES PC
Address: 60 EAST 42ND ST., STE#4700 NEW YORK , NY 10165

AARON HERNANDEZ, ON BEHALF OF HEMSELF AND OTHERS SIMILARLY SITUATED IN THE

PROPOSED FLSA COLLECTIVE ACTION Index Number: 1:22-CV-06918-DG-TAM

Plaintiff Client’s File No.: hernandez vs. happy

VS
HAPPY STREET LLC, HAPPY STREET TOO LLC, AND SLOBODAN RADIVOJEVIC (A/K/A BOB Court Date:
RADIVOJEVIC}
Defendant Date Filed: 11/14/2022
STATE OF NEW YORK, COUNTY OF QUEENS, S$S:.: AFFIDAVIT OF SERVICE

RIGOBERTO OCASIO, being sworn says:
Deponent is not a party herein; is over the age of 18 years and resides in the State of New York.

On 5/5/2023, at 2:45 PM at: 924 COLUMBUS AVENUE, NEW YORK, NY 10025 Deponent served the within SUMMONS IN A CIVIL ACTION
AND COMPLAINT, CIVIL COVER SHEET

On: HAPPY STREET TOO LLC, Defendant therein named,

[J] #1 Corporation or Partnership or Trust or LLC or Non-Profit
By delivering thereat a true copy of each to Tony Doe personally. Deponent knew said corporatien/partnership/trust/LLC/Non-Profit so served to be the
corporation/partnership/trusvLLC/Non-Profit described in said aforementioned document as said Defendant and knew said individual to be General

Agent thereof,
Be #2 DESCRIPTION
Sex: Male Color of skin: White Color of hair: Black Glasses:
Age: 45 Height: 5ft 4in - 5ft 8in Weight: 1761-200 Lbs. Other Features:

(] #3 WITNESS FEES
Subpoena Fee Tendered in the amount of

C] #4 OTHER

Sworn to before me on 5/8/2023

/ *
N cetnees Foe ) c RIGOBERTO' OCASIO
. , Qualifie ee fe
° eAugust 2, 2023 DCA License # 1340466

Ferm Expires, August 3, 2023

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PREFERRED PROcESS SERVERS Inc 166-06 24178 Ro, LL, Wairestone, NY 11357 718-362-4890 Lick2003142-DCA

